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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


Rothschild Broadcast Distribution Systems, LLC,     *
      Plaintiff                                     *
                                                    *
v.                                                  *
                                                    *      Civil No. 6:20-cv-01040
Dialpad, Inc.         ,                             *
       Defendant                                    *
                                                    *


                              CLERK'S ENTRY OF DEFAULT

        It appearing from the records in the above-entitled action that summons, issued on the
Plaintiff’s Original Complaint, was served upon the Defendant named below on March 12, 2021,
and it further appearing from the affidavit of counsel for Plaintiff that Defendant has failed to
plead or otherwise defend in said action, as directed in said summons and as provided in the
Federal Rules of Civil Procedure:

      NOW, therefore, on request of counsel for Plaintiff, the default of the following named
Defendant is hereby entered:

                                         Dialpad, Inc.


                                                    JEANNETTE J. CLACK, CLERK
                                                    UNITED STATES DISTRICT COURT


                                            By:
                                                    Deputy Clerk
                                                    DATE: May 5, 2021
